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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO
EASTERN DIVISION

Steve Snyder-Hill, ef ai.,

Plaintiffs, Case No. 2:18-cv-736
Vv. Judge Michael H. Watson
The Ohio State University, Magistrate Judge Preston Deavers
Defendant.

OPINION AND ORDER

In this case, sixteen named plaintiffs and seventy-seven unnamed plaintiffs
(together, “Plaintiffs”) sue The Ohio State University (“Ohio State”) based on
sexual abuse they suffered at the hands of Dr. Strauss (“Strauss”) while students
at the University. Second Amend. Compl., ECF No. 123. They sue Ohio State
under the following theories of Title |X liability: (1) hostile environment/heightened
risk; (2) deliberate indifference to prior sexual harassment; and (3) deliberate
indifference to a report of sexual harassment. /d. Jf] 2553-97. It appears
Plaintiffs base each Title IX theory on both the abuse by Strauss and Ohio
State’s contemporaneous response—or lack thereof—when it learned about
Strauss’s abusive behavior. /d. Ohio State moves to dismiss all claims. Mot.
Dismiss, ECF No. 128. Plaintiffs responded, Resp. ECF No. 133, and Ohio State

replied. Reply, ECF No. 135.
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The Court GRANTS Ohio State’s motion to dismiss for the reasons set
forth in the Opinions and Orders issued in Garrett and Ratliff. Case Nos. 2:18-
cv-692 and 2:19-cv-4746. The reasons requiring dismissal in those cases apply
equally to this case. See, e.g., Second Amend. Compl. JJ 2, 5, 13-14, 16, 30-—
122, 126-28, 130, 132-34, 162, 164, 175-76, 178-80, 182-84, 189, 196-99,
203, 205-08, 213, 217-18, 226-27, 232-33, 239-40, 248-51, 260, 262, 264,
299-2552, ECF No. 123.

In addition to the analyses in Garrett and Railiff, the Court wishes to
address Plaintiffs’ argument that the Court should not dismiss a claim on a
statute of limitations defense via a Rule 12(b)(6) motion. As the Court explained
in Garrett, statute-of-limitations defenses may be properly raised in a motion to
dismiss. See Gibson v. Am. Bankers Ins. Co., 289 F.3d 943, 946 (6th Cir. 2002).
Indeed, “[d]ismissal under Fed. R. Civ. P. 12(b)(6) based on a statute-of-
limitations bar is appropriate when the complaint shows conclusively on its face
that the action is indeed time-barred.” Allen v. Andersen Windows, Inc., 913 F.
Supp. 2d 490, 500 (S.D. Ohio 2012). Here, the Second Amended Complaint
provides all the information the Court needs to conclude that Plaintiffs’ claims are
barred by the statute of limitations.

Moreover, Plaintiffs’ reliance on the “beyond doubt” standard is misplaced.
The “beyond doubt” standard has not been the applicable standard for a Rule

12(b)(6) motion since the Supreme Court of the United States’ decisions in

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Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Beilf Affantic Corporation v. Twombly,
550 U.S. 544 (2007). Thus, Plaintiffs’ reliance on that standard is without merit.
Finally, the Court does not address the standing arguments. Whether the
non-student Plaintiffs have standing to sue under Title IX is irrelevant in light of
the Court’s conclusion that the claims are barred by the statute of limitations.

The Clerk is DIRECTED to close the case.

IT IS SO ORDERED. NW Ln

MICHAEL H. WATSON, JUDGE
UNITED STATES DISTRICT COURT

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